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                                  KP-0451
                              
                        
          
        
      
    
  

  

  
    
      KP-0451
              Ken Paxton
                  
        Categories
                        
Administrative Law
              , 
Occupational and Professional Licenses
              , 
Licenses, Certificates, and Permits
              , 
Occupational and Professional Licenses
              , 
Statutory and Constitutional Construction
              , 
Rules of Construction
        
      
            
                  Summary
                      As the more specific provision, Texas Occupations Code section 201.5065 prevails over sections 53.021 and 201.502. Accordingly, the Board of Chiropractic Examiners does not have discretion regarding whether to suspend or revoke a chiropractor’s license if the licensee has been convicted of an offense within the purview of Texas Occupations Code section 201.5065.
      
                          
            Opinion File
                         kp-0451.pdf 

      
          
                
        
      
    

          
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RQ-0510-KP

      
  
                May 19, 2023

      
  
      
      
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                     RQ0510KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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